   Case 2:14-cv-02428-DDP-PLA Document 191 Filed 08/21/17 Page 1 of 1 Page ID #:2319
                                             UNITED STATES DISTRICT COURT
                                                               Central District of California

                                       APPLICATION TO THE CLERK TO TAX COSTS

 J.N., Plaintiff
                                V.                                             Case Number: 2:14-CV-02428-DDP-PLAx

 Detective Heather Hendrickson, et al., Defendants

Judgment was entered in this action on 03/28/2017 / 143                             against Detective Heather Henrickson                         .
                                                        Date          Docket No.


   NO HEARING ON THIS APPLICATION WILL BE HELD UNLESS THE CLERK NOTIFIES THE PARTIES OTHERWISE.

 Filing fees: see L.R. 54-3.1                                                                                                                400.00
 Fees for service of process: see L.R. 54-3.2                                                                                                280.00
 United States Marshal’s fees: see L.R. 54-3.3

 Reporter’s transcripts: see L.R. 54-3.4   (no order or stipulation for transcript)                                          $00.00          XXX
                                                                                                                                             116.4
 Depositions: see L.R. 54-3.5                                                                                                            3,565.35
 Witness fees (itemize on page 2): see L.R. 54-3.6
 Interpreter’s and translator’s fees: see L.R. 54-3.7
 Docket fees: see L.R. 54-3.8
 Masters, commissioners and receivers: see L.R. 54-3.9
 Certification, exemplification and reproduction of documents: see L.R. 54-3.10           (copy fee only)                   $28.00           XXX
                                                                                                                                             265.26

 Premiums on bonds and undertakings: see L.R. 54-3.11
 Other Costs: see L.R. 54-3.12 (attach court order)       (no court order attached)                                         $00.00            XXX
                                                                                                                                              83.22

 State Court costs: see L.R. 54-3.13
 Costs on appeal: see L.R. 54-4
 Cost of a bankruptcy appeal to the District Court: see L.R. 54-5

                                                                                                                   TOTAL    $4,273.35     XXXX
                                                                                                                                          4,710.23

NOTE: You must attach an itemization and documentation supporting all requested fees and costs. Documentation includes
receipts, orders, and stipulations. All receipts must be self-explanatory.
                                                            DECLARATION
          I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this application has been served on all
parties by:
              ✘ The Court's CM/ECF System
                   Conventional service by first class mail
                   Other
   /s/ Jeff Dominic Price                                                                     Jeff Dominic Price
 Signature                                                                                    Print Name

                J.N., Plaintiff
 Attorney for:
 Costs are taxed in the amount of           $4,273.35
   Kiry K. Gray                                                      Kelly Davis                                           August 21, 2017
Clerk of Court                                                 By:   Deputy Clerk                                                 Date


CV-59 (12/14)                                                             BILL OF COSTS                                                  Page 1 of 2
